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              IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                NORTHERN DIVISION




 THE PROCTER & GAMBLE COMPANY
 and THE PROCTER & GAMBLE
 DISTRIBUTING CO.,
           Plaintiffs,                            MEMORANDUM DECISION AND
                                                  ORDER GRANTING P & G’S
                                                  MOTION FOR LEAVE TO
                                                  PRESENT DIFONZO TESTIMONY


                   vs.


 RANDY L. HAUGEN, et al.,                         Case No. 1:95-CV-94 TS
           Defendants.




      This matter is before the Court on Procter & Gamble (P & G’s) Motion for Leave to

Present Testimony by Dr. DiFonzo. Dr. DiFonzo’s testimony is the subject of two prior

orders.1

      P & G seeks leave to present testimony based upon Dr. DiFonzo’s 2003 Report.

P & G represents that the testimony will not involve excluded matters, such as opinions

regarding non-party Amway. P & G argues that Dr. DiFonzo’s core opinions would be




      1
          Docket Nos. 1089, 1094.

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helpful and would “fit” this case—specifically material on several pages of his report2— and

is also necessary if Defendants’ expert Fine testifies as to the same issues.

       Defendants contend that the 2003 Report contains no science or expertise, is

merely regurgitation of facts provided by P & G, and does not differ much from the

excluded opinions in the 1998 Report.

       Having reviewed the submissions, including the cited portions of the 2003 DiFonzo

Report and Fine Report, the Court finds that Plaintiffs have shown that Dr. DiFonzo’s

testimony would be helpful to educate the jury as to the general principles of rumor

dynamics.

This type of specialized knowledge is permitted under Fed. R. Evid. 702, if it meets the

criteria. The Advisory Committee’s note explains that criteria:

       If the expert purports to apply principles and methods to the facts of the
       case, it is important that this application be conducted reliably. Yet it might
       also be important in some cases for an expert to educate the factfinder about
       general principles, without ever attempting to apply these principles to the
       specific facts of the case. For example, experts might instruct the factfinder
       on the principles of thermodynamics, or bloodclotting, or on how financial
       markets respond to corporate reports, without ever knowing about or trying
       to tie their testimony into the facts of the case. The amendment does not
       alter the venerable practice of using expert testimony to educate the
       factfinder on general principles. For this kind of generalized testimony, Rule
       702 simply requires that: (1) the expert be qualified; (2) the testimony
       address a subject matter on which the factfinder can be assisted by an
       expert; (3) the testimony be reliable; and (4) the testimony "fit" the facts of
       the case.3




       2
           Pl.’s Ex. A at 2-9, 11-15, 18.
       3
           Fed. R. Evid. 702, advisory committee’s note, 2000 Amendments.

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       P & G has shown that Dr. DiFonzo is qualified in the field of psychology and

rumors.4 He has a Ph.D in psychology, with a concentration in social and organizational

psychology. He has received grants to conduct research involving rumors, has co-

authored many articles on rumor-related issues, and has presented his work on rumors at

numerous professional conferences. The Court finds that P & G has shown that he has

scientific or specialized knowledge that will assist the jury to understand the evidence or

to determine a fact in issue as required under Rule 702.

       The Court finds that the proposed testimony addresses a subject matter on which

the factfinder can be assisted by an expert, rumor dynamics not being a subject which

could be expected to be in the common knowledge or experience of jurors.

       The Court finds that Dr. DiFonzo’s scientific and specialized knowledge is reliable

under the non-exclusive Daubert5 factors. Not all of the Daubert reliability factors apply to

this type of educational expert testimony. However, the factors that do apply—peer-review

and published, and acceptance of the methodologies within the relevant scientific

community—are met.6




       4
           Pl.’s Ex. A, DiFonzo Curriculum Vita.
       5
           Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993).
       6
           Id. at 593-94.

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       The relevance factor requires that “a ‘fit’ exists between the proffered testimony and

the issue to be resolved by trial.”7 The Court finds that the DiFonzo testimony "fits" the

facts of the case.

       Having considered those factors relevant to admission of expert testimony offered

for the purpose of educating the jury on principles, Dr. DiFonzo’s testimony is admissible

as to his scientific and specialized knowledge of such issues as the “nature of rumors and

rumor transmission, what causes belief in rumors, the known harmful effects of rumors and

effectiveness of efforts to stop rumors.”8

       However, as to his application of the principles and methodology to the facts of this

case, the Court agrees with Defendants that it does not meet the Daubert factors. Instead,

it is largely Dr. DiFonzo’s discussion and arguments regarding P & G’s version of the facts

of this case rather than an application of a methodology. Therefore, the Court will permit

the DiFonzo testimony insofar as it educates the jury on his general principles. But the

Court finds that his opinion is not admissible insofar as it purports to apply those principles

to the facts of this case.

       Having briefly reviewed the Fine Report, the Court tentitively finds that it is subject

to this same ruling under the same analysis.

       It is therefore




       7
       Banks v. United States, 2007 WL 474027, *3 (Fed.Cl. 2007) (quoting Daubert,
509 U.S. at 591).
       8
           Pl.’s Mem. at 3.

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      ORDERED P & G’s Motion for Leave to Present Testimony by Dr. DiFonzo (Docket

No. 1096) is GRANTED as set forth above.

      DATED March 7, 2007.

                                     BY THE COURT:


                                     ___________________________________
                                     TED STEWART
                                     United States District Judge




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